8:08-cr-00318-RFR-MDN          Doc # 79     Filed: 10/15/08     Page 1 of 2 - Page ID # 144




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:08CR318
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
DERMAINE DAVIS,                                    )
                                                   )
                     Defendant.                    )


       This matter is before the court on the oral motion of Ericl L. Whitner to withdraw as
counsel for the defendant, Dermaine Davis (Davis) and Davis’s request for the appointment
of counsel (Filing No. 69). The court held a hearing on the motion on October 14, 2008.
The court determined the motions should be granted. Mr. Whitner’s motion to withdraw is
granted and substitute counsel will be appointed.
       The court finds Davis is eligible for appointment of counsel pursuant to the Criminal
Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District
of Nebraska. Mary C. Gryva, 1823 Harney Street, #201, Omaha, NE 68102, (402) 346-
0874, is appointed to represent Davis for the balance of these proceedings pursuant to the
Criminal Justice Act. Ms. Gryva shall file her appearance in this matter forthwith. The clerk
shall provide a copy of this order to Ms. Gryva and to the Federal Public Defender.
       Mr. Whitner shall forthwith provide Ms. Gryva with the discovery materials provided
the defendant by the government and such other materials obtained by Mr. Whitner which
are material to Davis’s defense.
       In order to provide new counsel adequate time to consider the filing of pretrial
motions, Davis’s time to file pretrial motions will be extended to November 10, 2008.
During the hearing on October 14, 2008, Davis requested such additional time and
acknowledged the time provided would be excluded from the computations under the
Speedy Trial Act. The additional time arising as a result of the granting of the request, i.e.,
the time between October 14, 2008 and November 10, 2008, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case. The
8:08-cr-00318-RFR-MDN       Doc # 79    Filed: 10/15/08   Page 2 of 2 - Page ID # 145




failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
      IT IS SO ORDERED.
      DATED this 15th day of October, 2008.
                                              BY THE COURT:
                                              s/Thomas D. Thalken
                                              United States Magistrate Judge




                                          2
